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 5
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 6
 7
                                     UNITED STATES DISTRICT COURT
 8                                  NORTHERN DISTRICT OF CALIFORNIA
                                           SAN JOSE DIVISION
 9
       SAMUEL KATZ, individually and on                     Case No. 5:22-cv-05680
10
       behalf of all others similarly situated,
11
                                                            COMPLAINT FOR INJUNCTION
12                              Plaintiff,                  AND DAMAGES
                  v.
13
       CALIBER HOME LOANS, INC.                             Class Action
14
15                                                          JURY TRIAL DEMAND
                                Defendant.
16
17
18
             Plaintiff Samuel Katz (“Mr. Katz”), by his undersigned counsel, for this class action
19
     complaint against Defendant Caliber Home Loans, Inc. (“Caliber Home”) and their present,
20
     former and future direct and indirect parent companies, subsidiaries, affiliates, agents and related
21
     entities, allege as follows:
22
23
                                             I.   INTRODUCTION
24
             1.        Nature of Action: “Telemarketing calls are intrusive. A great many people object
25
26   to these calls, which interfere with their lives, tie up their phone lines, and cause confusion and

27   disruption on phone records. Faced with growing public criticism of abusive telephone
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     marketing practices, Congress enacted the Telephone Consumer Protection Act of 1991. Pub. L.
 1
 2   No. 102-243, 105 Stat. 2394 (1991) (codified at 47 U.S.C. § 227). As Congress explained, the

 3   law was a response to Americans ‘outraged over the proliferation of intrusive, nuisance calls to
 4
     their homes from telemarketers’ id. § 2(6), and sought to strike a balance between ‘[i]ndividuals’
 5
     privacy rights, public safety interests, and commercial freedoms’ id. § 2(9).
 6
            2.       “The law opted for a consumer-driven process that would allow objecting
 7
 8   individuals to prevent unwanted calls to their homes. The result of the telemarketing regulations

 9   was the national Do-Not-Call registry. See 47 C.F.R. § 64.1200(c)(2). Within the federal
10
     government’s web of indecipherable acronyms and byzantine programs, the Do-Not-Call registry
11
     stands out as a model of clarity. It means what it says. If a person wishes to no longer receive
12
     telephone solicitations, he can add his number to the list. The TCPA then restricts the telephone
13
14   solicitations that can be made to that number. See id.; 16 C.F.R. § 310.4(b)(iii)(B) (‘It is an

15   abusive telemarketing act or practice and a violation of this Rule for a telemarketer to . . .
16
     initiat[e] any outbound telephone call to a person when . . . [t]hat person’s telephone number is
17
     on the “do-not-call” registry, maintained by the Commission.’)…Private suits can seek either
18
     monetary or injunctive relief. Id…This private cause of action is a straightforward provision
19
20   designed to achieve a straightforward result. Congress enacted the law to protect against

21   invasions of privacy that were harming people. The law empowers each person to protect his
22
     own personal rights. Violations of the law are clear, as is the remedy. Put simply, the TCPA
23
     affords relief to those persons who, despite efforts to avoid it, have suffered an intrusion upon
24
     their domestic peace.” Krakauer v. Dish Network, L.L.C., 925 F.3d 643, 649-50 (4th Cir. 2019).
25
26          3.       Plaintiff, individually and as class representatives for all others similarly situated,

27   brings this action against Caliber Home for violations of the Telephone Consumer Protection
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     Act, 47 U.S.C. § 227 (“TCPA”) for making telemarketing calls to numbers on the National Do
 1
 2   Not Call Registry, including their own.

 3           4.       Because telemarketing campaigns generally place calls to thousands or even
 4
     millions of potential customers en masse, Plaintiff brings this action on behalf of a proposed
 5
     nationwide class of other persons who received illegal telemarketing calls from or on behalf of
 6
     Defendant.
 7
 8                                              II.    PARTIES
 9
             5. Plaintiff Katz is an individual.
10
             6. Defendant Caliber Home Loans, Inc. is a California corporation that is located in this
11
     District.
12
                                   III.    JURISDICTION AND VENUE
13
             7. Jurisdiction. This Court has federal-question subject matter jurisdiction over Plaintiffs’
14
     TCPA claims pursuant to 28 U.S.C. § 1331 because the TCPA is a federal statute. 47 U.S.C. §
15
     227; Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 372 (2012).
16
             8. Personal Jurisdiction: This Court has personal jurisdiction over Defendant because
17
     their conduct at issue was sent into this District.
18
             9. Venue: Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1)-(2)
19
     because a substantial part of the events giving rise to Plaintiff’s claims—namely, the illegal
20
     telemarketing at issue—occurred from this District.
21
22           10. Intradistrict Assignment: Assignment to this Division is proper pursuant to Civil

23   Local Rule 3-2(c) because a substantial part of the events or omissions that give rise to Plaintiff

24   Ingram’s claims—namely, the direction of the illegal telemarketing—occurred in this District.

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 1                                             IV.     FACTS
 2   A.     The Enactment of the TCPA and its Regulations
 3
            11.     In 1991, Congress enacted the TCPA in response to a growing number of
 4
     consumer complaints regarding certain telemarketing practices.
 5
            12.     § 227(c) of the TCPA requires the FCC to “initiate a rulemaking proceeding
 6
 7   concerning the need to protect residential telephone subscribers’ privacy rights to avoid receiving

 8   telephone solicitations to which they object.” 47 U.S.C. § 227(c)(1).
 9
            13.     The National Do Not Call Registry allows consumers to register their telephone
10
     numbers and thereby indicate their desire not to receive telephone solicitations at those numbers.
11
     See 47 C.F.R. § 64.1200(c)(2).
12
13          14.     A listing on the Registry “must be honored indefinitely, or until the registration is

14   cancelled by the consumer or the telephone number is removed by the database administrator.”
15
     Id.
16
            15.     The TCPA and implementing regulations prohibit the initiation of telephone
17
     solicitations to residential telephone subscribers to the Registry and provides a private right of
18
19   action against any entity that makes those calls, or “on whose behalf” such calls are made. 47

20   U.S.C. § 227(c)(5); 47 C.F.R. § 64.1200(c)(2).
21
     B.     Defendant’s Unsolicited Telemarketing to Plaintiff
22
23          16.     Plaintiff Katz is, and at all times mentioned herein was, a “person” as defined by

24   47 U.S.C. § 153(39).
25
            17.     Plaintiff’s residential telephone number is (207)-802-XXXX, is on the National
26
     Do Not Call Registry for more than a year prior to the calls at issue.
27
            18.     Mr. Katz uses the number for personal, residential, and household reasons.
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            19.     Plaintiff Katz never consented to receive calls from Caliber Home.
 1
 2          20.     Plaintiff Katz never did business with Caliber Home.

 3          21.     Despite this, the Plaintiff got calls from the Defendant in 2022, including on May
 4
     26, June 4, 20, 22 and July 5, 2022.
 5
            22.     All of the call came from the same Caller ID, (207) 203-7685.
 6
            23.     The calls were unwanted, so the Plaintiff did not answer the first calls.
 7
 8          24.     However, the Plaintiff answered the last call.

 9          25.     On that call, Caliber Home Loans services were offered.
10
            26.     The call offered a VA, conventional or FHA loan.
11
            27.     The caller asked the Plaintiff to ensure he hadn’t had a recent bankruptcy.
12
            28.     The caller also asked about the Plaintiff’s credit score and ensure that he did not
13
14   have more than $10,000 in credit card debt.

15          29.     The call offered the Defendant’s services from the Caliber Home Loan Mortgage
16
     Refinance Team.
17
            30.     Plaintiff’s privacy has been violated by the above-described telemarketing calls.
18
            31.     The Plaintiff never provided his consent or requested these calls.
19
20          32.     Plaintiff and all members of the Class, defined below, have been harmed by the

21   acts of Defendant because their privacy has been violated, they were annoyed and harassed. In
22
     addition, the calls occupied their telephone lines, rendering them unavailable for legitimate
23
     communication.
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 1                                V.    CLASS ACTION ALLEGATIONS
 2
            33.     Class Definition. Pursuant to Fed. R. Civ. P. 23(b)(2) and (b)(3), Plaintiff brings
 3
     this case on behalf of the Class (the “Class”) defined as follows:
 4
                    National Do Not Call Registry Class: All persons in the United States whose (1)
 5
                    telephone numbers were on the National Do Not Call Registry for at least 31
 6                  days, (2) but who received more than one telemarketing call from or on behalf of
                    Defendant, (3) within a 12-month period, (4) at any time in the period that begins
 7                  four years before the date of filing this Complaint to trial.
 8
 9          34.      Excluded from the Class are counsel, Defendant, any entities in which Defendant

10   has a controlling interest, Defendant’s agents and employees, any judge to whom this action is
11   assigned, and any member of such judge’s staff and immediate family.
12
            35.     The Class, as defined above, is identifiable through telephone records and
13
     telephone number databases.
14
15          36.     The potential members of the Class likely number at least in the hundreds because

16   of the en masse nature of telemarketing calls.
17          37.     Individual joinder of these persons is impracticable.
18
            38.     Additionally, the disposition of the claims in a class action will provide
19
     substantial benefit to the parties and the Court in avoiding a multiplicity of identical suits.
20
21          39.     Plaintiff is a member of the Class and will fairly and adequately represent and

22   protect the interests of the Class as he has no interests that conflict with any of the class
23   members.
24
            40.     Plaintiff and all members of the Class have been harmed by the acts of Defendant,
25
     including, but not limited to, the invasion of his privacy, annoyance, waste of time, and the
26
27   intrusion on their telephone that occupied it from receiving legitimate communications.

28          41.     This class action complaint seeks injunctive relief and money damages.
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            42.       There are numerous questions of law and fact common to Plaintiffs and members
 1
 2   of the Class. These common questions of law and fact include, but are not limited to, the

 3   following:
 4
                      a.     whether Defendant systematically made multiple telephone calls to
 5
     members of the National Do Not Call Registry Class;
 6
                      b.     whether Defendant made calls to Plaintiff and members of the National
 7
 8   Do Not Call Registry Class without first obtaining prior express written consent to make the

 9   calls; and
10
                      c.     whether members of the Class are entitled to treble damages based on the
11
     willfulness of Defendant’s conduct.
12
            43.       Plaintiff’s claims are typical of the claims of the Class, as they arise out of the
13
14   same common course of conduct by Defendant and are based on the same legal and remedial

15   theories.
16
            44.       Plaintiff is an adequate representative of the Class because his interests do not
17
     conflict with the interests of the Class, he will fairly and adequately protect the interests of the
18
     Class, and he is represented by counsel skilled and experienced in class actions, including TCPA
19
20   class actions.

21          45.       Common questions of law and fact predominate over questions affecting only
22
     individual class members, and a class action is the superior method for fair and efficient
23
     adjudication of the controversy. The only individual question concerns identification of class
24
     members, which will be ascertainable from records maintained by Defendant and/or its agents.
25
26          46.       A class action is the superior method for the fair and efficient adjudication of this

27   controversy. Class-wide relief is essential to compel Defendant to comply with the TCPA. The
28
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     interests of individual members of the Class in individually controlling the prosecution of
 1
 2   separate claims against Defendant are small because the damages in an individual action for

 3   violation of the TCPA are small. Management of these claims is likely to present significantly
 4
     more difficulties than are presented in many class claims. Class treatment is superior to multiple
 5
     individual suits or piecemeal litigation because it conserves judicial resources, promotes
 6
     consistency and efficiency of adjudication, provides a forum for small claimants, and deters
 7
 8   illegal activities. There will be no significant difficulty in the management of this case as a class

 9   action.
10
               47.     Defendant has acted on grounds generally applicable to the Class, thereby making
11
     final injunctive relief and corresponding declaratory relief with respect to the Class appropriate
12
     on a class-wide basis. Moreover, on information and belief, Plaintiff alleges that the telephone
13
14   solicitation calls made by Defendant and/or its affiliates, agents, and/or other persons or entities

15   acting on Defendant’s behalf that are complained of herein are substantially likely to continue in
16
     the future if an injunction is not entered.
17
18                                      FIRST CAUSE OF ACTION
                                    Telephone Consumer Protection Act
19                       Violations of 47 U.S.C. § 227(c)(5) & 47 C.F.R. § 64.1200(c)
20                   (On Behalf of Plaintiff and the National Do Not Call Registry Class)

21             48.     Plaintiff repeats the prior allegations of this Complaint and incorporates them by
22   reference herein.
23
               49.     The foregoing acts and omissions of Defendant and/or its affiliates, agents, and/or
24
     other persons or entities acting on Defendant’s behalf constitute numerous and multiple
25
26   violations of the TCPA, 47 U.S.C. § 227, by making telemarketing calls, except for emergency

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     purposes, to Plaintiffs and members of the National Do Not Call Registry Class despite their
 1
 2   numbers being on the National Do Not Call Registry.

 3          50.      Defendant’s violations were negligent, willful, or knowing.
 4
            51.      As a result of Defendant’s, and/or its affiliates, agents, and/or other persons or
 5
     entities acting on Defendant’s behalf, violations of the TCPA, 47 U.S.C. § 227, Plaintiffs and
 6
     members of the National Do Not Call Registry Class are presumptively entitled to an award of
 7
 8   between $500 and $1,500 in damages for each call made.

 9          52.      Plaintiff and the members of the National Do Not Call Registry Class is also
10
     entitled to and do seek injunctive relief prohibiting Defendant and/or its affiliates, agents, and/or
11
     other persons or entities acting on Defendant’s behalf from making telemarketing calls to
12
     telephone numbers registered on the National Do Not Call Registry, except for emergency
13
14   purposes, in the future.

15
                                          PRAYER FOR RELIEF
16
            WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for the
17
18   following relief:

19          A.       Certification of the proposed Class;
20
            B.       Appointment of Plaintiff as representative of the Class;
21
            C.       Appointment of the undersigned counsel as counsel for the Class;
22
            D.       A declaration that Defendant and/or its affiliates, agents, and/or other related
23
24   entities’ actions complained of herein violated the TCPA;

25          E.       An order enjoining Defendant and/or its affiliates, agents, and/or other persons or
26
     entities acting on Defendant’s behalf from making telemarketing calls to numbers on the
27
     National Do Not Call Registry, absent an emergency circumstance;
28
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            F.      An award to Plaintiff and the Class of damages, as allowed by law; and
 1
 2          G.      Orders granting such other and further relief as the Court deems necessary, just,

 3   and proper.
 4
                                   VI.             DEMAND FOR JURY
 5
            Plaintiff demands a trial by jury for all issues so triable.
 6
 7                               VII.      SIGNATURE ATTESTATION
 8          The CM/ECF user filing this paper attests that concurrence in its filing has been obtained
 9   from each of its other signatories.
10
11
            RESPECTFULLY SUBMITTED AND DATED this 2nd day of October, 2022.
12
13
                                                   By: /s/ Adam J Schwartz
14
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